
In re: State of La. through John M. Mamoulides, District Attorney, Parish of Jefferson, applying for writs of Certiorari, Prohibition and Mandamus.
Granted. (See Order.)
The petition of the relator_in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Cyril Gracianette Judge of the First Parish Court for the Parish of Jefferson to transmit to the Supreme Court of Louisiana, on or before the 20th day of July, 1976, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator_ herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 13th day of October, 1976, at 10 o’clock A.M., why the relief prayed for in the petition of the relator_should not be granted.
